                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 16-03078-03-CR-S-BCW
                                                    )
JOEL DECKARD,                                       )
                                                    )
                          Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One of the

Indictment filed on July 19, 2016, is now Accepted and the Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ Brian C. Wimes
                                                         BRIAN C. WIMES
                                                    UNITED STATES DISTRICT JUDGE




Date: December 20, 2016




       Case 6:16-cr-03078-BCW          Document 69       Filed 12/20/16     Page 1 of 1
